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8                                      UNITED STATES DISTRICT COURT
9                                 CENTRAL DISTRICT OF CALIFORNIA
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11   JOSEPH LLOYD COLLINS, et al.,               )   NO. CV 19-4134 FMO (JCx)
                                                 )
12                        Plaintiff,             )
                                                 )
13                 v.                            )   ORDER DISMISSING ACTION WITHOUT
                                                 )   PREJUDICE
14                                               )
     CITY OF INGLEWOOD, et al.,                  )
15                                               )
                          Defendant(s).          )
16                                               )
17          Having been advised by counsel that the above-entitled action has been settled, IT IS
18   ORDERED that the above-captioned action is hereby dismissed without costs and without
19   prejudice to the right, upon good cause by November 18, 2020, to re-open the action if settlement
20   is not consummated. The court retains full jurisdiction over this action and this Order shall not
21   prejudice any party to this action.
22   Dated this 20th day of October, 2020.
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24                                                                         /s/
                                                                  Fernando M. Olguin
25                                                           United States District Judge
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